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                 Exhibit 1
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A lb.


;_:_t CT Corporation                                                            Service of Process
                                                                                Transmittal
                                                                                06/02/2020
                                                                                CT Log Number 537737382
        TO:      Becky Sullwold
                 POLARIS, INC.
                 2100 Highway 55
                 Medina, MN 55340-9770

        RE:      Process Served in Minnesota

        FOR:     Polaris Industries Inc. (Domestic State: DE)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                    ESTATE OF TUCKER WESTFALL, ET AL., PLTFS. vs. POLARIS INDUSTRIES INC., ET AL.,
                                            DFTS.
        DOCUMENT(S) SERVED:

        COURT/AGENCY:                       None Specified
                                            Case # 2020CV000279
        NATURE OF ACTION:                   Subpoena - Insurance Records
        ON WHOM PROCESS WAS SERVED:         CT Corporation System, Inc, Saint Paul, MN
        DATE AND HOUR OF SERVICE:           By Process Server on 06/02/2020 at 15:03
        JURISDICTION SERVED:               Minnesota
        APPEARANCE OR ANSWER DUE:           None Specified
        ATTORNEY(S) / SENDER(S):            None Specified
        ACTION ITEMS:                       CT has retained the current log, Retain Date: 06/02/2020, Expected Purge Date:
                                            06/07/2020

                                            Image SOP

                                            Email Notification, Becky Sullwold becky.sullwold@polaris.com

                                            Email Notification, Jody Rusch Jody.Rusch@polaris.com

        SIGNED:                             CT Corporation System, Inc
        ADDRESS:                            208 South LaSalle Street
                                            Suite 814
                                            Chicago, IL 60604
        For Questions:                      866-331-2303
                                            CentralTeam1@wolterskluwer.com




                                                                                Page 1 of 1 / AN
                                                                                Information displayed on this transmittal is for CT
                                                                                Corporation's record keeping purposes only and is provided to
                                                                                the recipient for quick reference. This information does not
                                                                                constitute a legal opinion as to the nature of action, the
                                                                                amount of damages, the answer date, or any information
                                                                                contained in the documents themselves. Recipient is
                                                                                responsible for interpreting said documents and for taking
                                                                                appropriate action. Signatures on certified mail receipts
                                                                                confirm receipt of package only, not contents.
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                                                                                         Page 3 of 13
                                       CIRCUIT COURT               •' MARATHON                                                        05-27-2020
STATE OF WISCONSIN
                                                                                                                                      CLERK OF CIRCUIT
Estate of Tucker Westfall et al vs. Polaris Industries Inc. et Electronic Filing                                                      COURT
al                                                                 Notice                                                             MARATHON COUNTY
                                                  'Case No. 2020CV000279                                                              2020CV000279
                                                   Class Code: Wrongful Death                                                         Honorable Jill N Falstad
                                                                                                                                      Branch 1



                                 POLARIS INDUSTRIES INC.
                                 1010 DALE STREET NORTH
                                 C/O CT CORPORATION SYSTEM INC.
                                 SAINT PAUL MN 55117




                Case number 2020CV000279 was electronically filed with/converted by the,Marathon,County
                Circuit Court office. The electronic filing system is designed to allow fordfagt,ti,able exChange
                of documents in court cases.

                Parties who register as electronic parties can file, receive pptIT/iew docKnentssinline through
                the court electronic filing website. A document filed electrprically has theAame legal effect as
                a document filed by traditional means. Electronic parties are responsible for serving
                non-electronic parties by traditional means.        \

                You may also register as an electronic'party bylollowing the instructions found at
                http://efiling.wicourts.gov/ and may\ifithdraw as an electronic party at any time. There is a
                                                          \::„..p
                $20.00 fee to register as an electronic partl

                If you are not repremitedpy an ettorqfy and would like to register an electronic party, you
                will need to enter the following code-on-the eFiling website while opting in as an electronic


                Pro S- opt=in,code: 7fd94c

                Unless you register as an electronic party, you will be served with traditional paper documents
                by'other parties and by the court. You must file and serve traditional paper documents.

                Registration is available to attorneys, self-represented individuals, and filing agents who are
                authorized under Wis. Stat. 799.06(2). A user must register as an individual, not as a law firm,
                agency, corporation, or other group. Non-attorney individuals representing the interests of a
                business, such as garnishees, must file by traditional means or through an attorney or filing
                agent. More information about who may participate in electronic filing is found on the court
                website.

                If you have questions regarding this notice, please contact the Clerk of Circuit Court at
                715-261-1300.

                                                                                    Marathon County Circuit Court
                                                                                    Date: May 27, 2020




GF-180(CCAP), 06/2017 Electronic Filing Notice                                                                                        §801.18(5)(d), Wisconsin Statutes
                                                 This form shall not be modified. It may be supplemented with additional material.
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                                                                                05-27-2020
                                                                                CLERK OF CIRCUIT
                                                                                COURT
                                                                                MARATHON COUNTY
                                                                                2020CV000279
                                                                                Honorable Jill N Falstad

STATE OF WISCONSIN                      CIRCUIT COURT              MARATHO1         YtTY
                                         BRANCH

ESTATE OF TUCKER WESTFALL,
do Co-Special Administrators,
Tracy Westfall and Dale Westfall
600 Allen Street
Athens, Wisconsin 54411;
                                                  Case No.:    20-CV-
TRACY WESTFALL,                                   Case Codes: 30100— Product Liability
600 Allen Street                                               30105 —Wrongful Death
Athens, Wisconsin 54411,

and

DALE WESTFALL,
600 Allen Street
Athens, Wisconsin 54411,

        Plaintiffs,

V.

POLARIS INDUSTRIES INC.
do C T Corporation System Inc.
1010 Dale Street North
Saint Paul, Minnesota 55117-5603,

ABC COMPANY,
A fictitious company,

and

DEF INSURANCE COMPANY,
A fictitious company,

        Defendants.


                                         SUMMONS
    Case 2020O/000279         Document 4         Filed 05-27-2020       Page 2 ot 10
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          THE STATE OF WISCONSIN

          To each person named above as a defendant:

          You are hereby notified that the plaintiffs named above has filed a lawsuit or other legal

action against you. The Complaint, which is attached, states the nature and basis of the legal

action.

          Within forty-five (45) days of receiving this Summons, you must respond with a written

answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The Court

may reject or disregard an answer that does not follow the requirements of the statutes. The answer

must be sent or delivered to the Court, whose address is Marathon County Courthouse, 500 Forest

Street, Wausau, Wisconsin 54403-5554, and to Davczyk & Varline, LLC, the plaintiffs' attorneys,

whose address is 1400 Merrill Avenue, P.O. Box 1192, Wausau, Wisconsin 54402-1192. You

may have an attorney help or represent you.

          If you do not provide a proper answer within forty-five (45) days, the Court may grant

judgment against you for the award of money or other legal action requested in the Complaint, and

you may lose your right to object to anything that is or may be incorrect in the Complaint. A

judgment may be enforced as provided by law. A judgment awarding money may become a lien

against any real estate you own now or in the future and may also be enforced by garnishment or

seizure of property.

          Dated this 27th day of May, 2020, in Wausau, Wisconsin.

                                               DAVCZYK & VARLINE, LLC,
                                               Attorneys for Plaintiffs, Estate of Tucker Westfall,
                                               Tracy Westfall, and Dale Westfall

                                           By: Ectronicallji signed 6y Tianief Vartine
                                               Daniel W. Varline
                                               State Bar No. 1024016
                                               Marissa A. Reynolds
                                               State Bar No. 1097399
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P.O. ADDRESS
Davczyk & Varline, LLC
1400 Merrill Avenue
P.O. Box 1192
Wausau, WI 54402-1192
Ph.: 715-675-7777
Fax: 715-675-8888
dvarline®dvlawoffice.com
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                                                                                CLERK OF CIRCUIT
                                                                                COURT
                                                                                MARATHON COUNTY
                                                                                2020CV000279
                                                                                Honorable Jill N Falstad
                                                                                Branch 1

STATE OF WISCONSIN                      CIRCUIT COURT              MARATHON COUNTY
                                          BRANCH

ESTATE OF TUCKER WESTFALL,
do Co-Special Administrators,
Tracy Westfall and Dale Westfall
600 Allen Street
Athens, Wisconsin 54411,
                                                  Case No.:    20-CV-
TRACY WESTFALL,                                   Case Codes: 30100— Product Liability
600 Allen Street                                               30105 — Wrongful Death
Athens, Wisconsin 54411,

and

DALE WESTFALL,
600 Allen Street
Athens, Wisconsin 54411,

        Plaintiffs,

V.

POLARIS INDUSTRIES INC.
do C T Corporation System Inc.
1010 Dale Street North
Saint Paul, Minnesota 55117-5603,

ABC COMPANY,
A fictitious company,

and

DEF INSURANCE COMPANY,
A fictitious company,

        Defendants.


                                        COMPLAINT
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        NOW COME the above-named plaintiffs, Estate of Tucker Westfall, Tracy Westfall, and

Dale Westfall, by and through their attorneys, Davczyk & Varline, LLC, and as and for their

Complaint against the defendants, allege and show to the Court as follows:

                      JURISDICTIONAL AND BACKGROUND FACTS

        1.      That, the plaintiff, Tucker Westfall, deceased, through his co-Special

Administrators, Tracy Westfall, 600 Allen Street, Athens, Marathon County, Wisconsin, and Dale

Westfall, 600 Allen Street, Athens, Marathon County, Wisconsin, was a minor resident of the State

of Wisconsin, date of birth May 16, 2003, who resided at 600 Allen Street, Athens, Marathon

County, Wisconsin at the time of his death and was the son of plaintiffs Tracy Westfall and Dale

Westfall.

       2.       That, the plaintiff, Tracy Westfall, is an adult resident of the State of Wisconsin

residing therein at 600 Allen Street, Athens, Marathon County, Wisconsin, and is the co-Special

Administrator for the plaintiff, Estate of Tucker Westfall.

       3.       That, the plaintiff, Dale Westfall, is an adult resident of the State of Wisconsin

residing therein at 600 Allen Street, Athens, Marathon County, Wisconsin, and is the co-Special

Administrator for the plaintiff, Estate of Tucker Westfall.

       4.       That, the plaintiffs, Tracy Westfall and Dale Westfall, are the natural, custodial

parents and lineal heirs of minor child Tucker Westfall, date of birth May 16, 2003, who died on

June 2, 2018 in Marathon County, Wisconsin.

       5.       That, the defendant, Polaris Industries Inc., is a corporation organized under the

laws of the State of Delaware with a principal place of business located at 2100 Highway 55,

Medina, Minnesota 55340 and a registered agent for service of process of C T Corporation System

Inc., 1010 Dale Street North, Saint Paul, Minnesota 55117-5603, and, at all times material hereto,

was in the business of, among other things, manufacturing, selling, and distributing powersports
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products and vehicles, including Utility Task Vehicles/Utility Terrain Vehicles (UTVs) such as

the Polaris Ranger XP 900 to Wisconsin, throughout the United States and the world. Further,

Polaris Industries, Inc. is engaged in substantial and not isolated activities within the State of

Wisconsin, and its products, materials and/or things processed, serviced and/or manufactured by

Polaris Industries Inc. are used and/or consumed within the State of Wisconsin in the ordinary

course of trade, including the sale of products for recreational and farm use. Further, Polaris

Industries Inc. carries on solicitation and service activities within the State of Wisconsin, has

authorized dealers within the State of Wisconsin, communicates, advertises and sells to customers

within the State of Wisconsin and otherwise avails itself of the privileges of conducting activities

within Wisconsin and thus invokes the benefits and protections of its laws. As a result, Polaris

Industries, Inc. has business activities within the State of Wisconsin and purposefully establishes

minimum contacts and expects to be subject to jurisdiction in the State of Wisconsin.

       6.      That, the defendant, ABC Company, is a fictitious company doing business within

the State of Wisconsin, and at all times material hereto was in the business of, among other things,

manufacturing, selling, distributing, testing and/or servicing powersports products and vehicles,

including Utility Task Vehicles/Utility Terrain Vehicles (UTVs) such as the Polaris Ranger XP

900, and is being designated by a fictitious name pursuant to Wis. Stat. § 807.12 because their true

name is unknown but will be substituted if and when it becomes available.

       7.      That, the defendant, DEF Insurance Company, is a fictitious insurance company

doing business within the State of Wisconsin, and at all times material hereto, had in full force and

effect, one or more applicable policies of insurance to Polaris Industries Inc. and/or ABC Company

indemnifying them for the liability herein alleged, and is being designated by a fictitious name

pursuant to Wis. Stat. § 807.12 because their true name is unknown but will be substituted if and

when it becomes available.
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        8.         That, prior to June 2, 2018, defendant Polaris Industries Inc. and/or ABC Company

manufactured, sold, and distributed a Polaris Ranger XP 900 Utility Task Vehicle/Utility Terrain

Vehicle, Vehicle Identification No. 3NSRTE875FG872271, Model Year: 2015, Make: Polaris,

Body Type: RGR-15, 900 XP, PS, SS. GRAY, with Engine Model: 1204974 and Engine Serial

No. 0120497453073 (hereinafter the "Polaris Ranger XP 900").

        9.         That, on or about June 2, 2018, Tucker Westfall was operating the Polaris Ranger

XP 900 (VIN: 3NSRTE875FG872271) on a designated ATV/UTV road, Silver Leaf Road in the

Town of Johnson, Marathon County, Wisconsin when the Polaris Ranger XP 900 (VIN:

3NSRTE875FG872271) unexpectedly and without warning lost control and overturned, causing

Tucker Westfall to suffer personal and fatal injuries and causing the plaintiffs, Estate of Tucker

Westfall, Tracy Westfall, and Dale Westfall to incur damages, including, but not limited to, the

loss and society and companionship of their son, funeral and burial expenses, medical expenses,

and other economic or financial damages.

    FIRST CAUSE OF ACTION: STRICT LIABILITY UNDER WIS. STAT. § 895.047

        10.        Reallege and incorporate by reference herein paragraphs 1-9 of this Complaint as

if fully set forth herein.

        11.        That, the Polaris Ranger XP 900 (VIN: 3NSRTE875FG872271) was defective and

flawed and presents foreseeable risks because it contained a manufacturing defect, which includes,

but may not be limited to, a defective power steering system and speed control sensors/systems

and electronic power steering system, was defective in the design of its electronic power steering

system, and/or was defective because of inadequate instructions and warnings prior to or at the

time of failure.
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        12.     That, the Polaris Ranger XP 900 (VIN: 3NSRTE875FG872271) was in defective

condition when it left the possession and control of defendant Polaris Industries Inc. and/or ABC

Company.

        13.     That, the Polaris Ranger XP 900 (VIN: 3NSRTE875FG872271) in its defective

condition was unreasonably dangerous to a user or consumer of the product.

        14.     That Polaris Industries, Inc., prior to the subject accident, was aware or should have

been aware of the defect in its product due to customer complaints and the involvement of the

Consumer Product Safety Commission.

        15.     That, the defective Polaris Ranger XP 900 (VIN: 3NSRTE875FG872271) was a

cause and substantial factor of the death of Tucker Westfall and the injuries and damages sustained

by the plaintiffs, Estate of Tucker Westfall, Dale Westfall, and Tracy Westfall, including, but not

limited to, the loss and society and companionship of their son, funeral and burial expenses,

medical expenses, and other economic or financial damages.

        16.     That, defendant Polaris Industries Inc. and/or ABC Company are engaged in the

business of manufacturing, selling, and distributing the Polaris Ranger XP 900 (VIN:

3NSRTE875FG872271) and such Utility Task Vehicles/Utility Terrain Vehicles, and the

manufacture, sale, and distribution of the Polaris Ranger XP 900 (VIN: 3NSRTE875FG872271)

is not an isolated or infrequent transaction not related to the principal business of Polaris Industries

Inc. and/or ABC Company.

       17.     That, the Polaris Ranger XP 900 (VIN: 3NSRTE875FG872271) UTV was one

which defendant Polaris Industries Inc. and/or ABC Company expected to and did reach the user

or consumer without substantial change in the condition it was in when Polaris Industries Inc.

and/or ABC Company sold and distributed it.
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              SECOND CAUSE OF ACTION: COMMON-LAW NEGLIGENCE

        18.     Reallege and incorporate by reference herein paragraphs 1-17 of this Complaint as

if fully set forth herein.

        19.     That, upon information and belief, the subject Polaris Ranger XP 900 (VIN:

3NSRTE875FG872271) incident on or about June 2, 2018 was the result of the negligent acts and

omissions and the failure to exercise ordinary care on the part of defendant Polaris Industries Inc.

and/or ABC Company in the design, testing, manufacturing, and/or inspection of the Polaris

Ranger XP 900 (VIN: 3NSRTE875FG872271) and its speed control system and electronic power

steering system as well as the failure to repair, service or recall the product based on prior issues

and customer complaints.

        20.     That, as a proximate result of the negligence of the defendant Polaris Industries Inc.

and/or ABC Company, Tucker Westfall sustained fatal injuries and the plaintiffs, Estate of Tucker

Westfall, Tracy Westfall, and Dale Westfall incurred damages, including, but not limited to, the

loss and society and companionship of their son, funeral and burial expenses, medical expenses,

and other economic or financial damages, and will incur damages into the future.

       WHEREFORE, the plaintiffs, Estate of Tucker Westfall, Tracy Westfall, and Dale

Westfall, demand judgment against the defendants as follows:

       a.       For damages to compensate the plaintiffs for the injuries and damages alleged

                herein;

       b.       For costs, disbursements, and attorney fees of this action;

       c.       For all other damages allowed by law; and

       d.       For any and all other relief the Court deems just and equitable.

       DEMAND IS HEREBY MADE FOR A TRIAL BY JURY OF TWELVE (12).
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                                                      •




      Dated this 27th day of May, 2020, in Wausau, Wisconsin.

                                            DAVCZYK & VARLINE, LLC,
                                            Attorneys for Plaintiffs, Estate of Tucker Westfall,
                                            Tracy Westfall, and Dale Westfall


                                        By: E&ctronicallj signed 6y Daniel- W. Vartine
                                            Daniel W. Varline
                                            State Bar No. 1024016
                                          ; Marissa A. Reynolds
                                            State Bar No. 1097399

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